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               Exhibit A
             (TM Reg. No. 5,692,669)
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Reg. No. 5,692,669       Arm Limited (UNITED KINGDOM limited company (ltd.) )
                         110 Fulbourn Road
Registered Mar. 05, 2019 Cambridge, UNITED KINGDOM CB19NJ
                               CLASS 9: Electronic data processing equipment; computer hardware; integrated circuits;
Int. Cl.: 9, 42                semiconductors; memory circuits for system-on-chip devices; microprocessors; RISC-based
                               instruction set architectures, namely, software instructions designed to function with
Service Mark                   particular microprocessors; data processors; interfaces for computers; printed circuit boards;
                               electronic circuit boards; internet servers; electronic sensors for sensing light, pressure,
Trademark                      smells, touch, movement, moisture, temperature, sounds and electronic signals; smart devices,
                               namely, blank smart cards and smart card readers; data processing equipment; electronic data
Principal Register             storage devices, namely, computer servers; electronic devices that send and receive data in a
                               connected network, namely, computers; computer software for the design, development,
                               modelling, simulation, compiling, de-bugging, verification, construction and interfacing of
                               integrated circuits, microprocessors, microprocessor cores, semiconductor intellectual
                               property cores, macro cells, microcontrollers, bus interfaces and printed circuit boards; sim
                               cards; software, namely, communication software as a Multimedia Services Identity Module
                               (ISIM); computer software for the design, development, modelling, simulation, compiling,
                               de-bugging and interfacing of application software and operating system software to run on
                               integrated circuit based devices; downloadable electronic data files featuring microprocessor
                               design file software; operating system software; security and cryptographic software;
                               electronic publications, downloadable, in the nature of instruction manuals, user manuals,
                               technical manuals, development manuals, datasheets, brochures, articles, newsletters, books,
                               magazines, journals, research papers and white papers in the field of instruction set
                               architectures, electronic data processing equipment, microprocessors, computer hardware,
                               computer software, integrated circuit based devices and electronic devices that send and
                               receive data in a connected network

                               FIRST USE 11-30-1990; IN COMMERCE 11-30-1990

                               CLASS 42: Research, development and design all relating to electronic data processing
                               equipment, sim cards, microprocessors, system-on-chip devices, application specific
                               integrated circuits, graphics processing units, semiconductor intellectual property cores,
                               instruction set architectures, integrated circuits, computer hardware, computer software,
                               electronic devices that send and receive data in a connected network, microcontrollers, bus
                               interfaces and printed circuit boards; technical consultancy and technical support services, in
                               the nature of diagnosing electronic data processing equipment, microprocessors, system-on-
                               chip devices, application specific integrated circuits, graphics processing units, semiconductor
                               intellectual property cores, instruction set architectures, integrated circuits, computer
                               hardware, computer software, electronic devices that send and receive data in a connected
                               network, microcontrollers, bus interfaces and printed circuit board problems; development
                               and design all relating to computer software used in and for use in the design, development,
                               modelling, simulation, compiling, de-bugging, verification, construction and interfacing of
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                        integrated circuits, microprocessors system-on-chip devices, microcontrollers, bus interfaces
                        and printed circuit boards; technical consultancy and technical support services in the nature
                        of diagnosing computer software used in and for use in the design, development, modelling,
                        simulation, compiling, de-bugging, verification, construction and interfacing of integrated
                        circuits, microprocessors system-on-chip devices, microcontrollers, bus interfaces and printed
                        circuit board problems; research, development and design all relating to computer software
                        used in servers, operating system software, web services software, and security and
                        cryptographic software; technical consultancy and technical support services in the nature of
                        diagnosing problems with computer software used in servers, operating system software, web
                        services software, and security and cryptographic software; maintenance and support services,
                        namely, technical advice related to the installation of computer software; software as a service
                        (SAAS) featuring software for accessing and integrating data from databases relating to the
                        design of integrated circuits; software as a service (SAAS) featuring computer software
                        development tools; software as a service (SAAS) featuring software for image analysis,
                        recognition and enhancement; software as a service (SAAS) featuring software to connect,
                        authenticate and manage internet of things electronic devices

                        FIRST USE 11-30-1990; IN COMMERCE 11-30-1990

                        THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                        PARTICULAR FONT STYLE, SIZE OR COLOR

                        SER. NO. 87-548,889, FILED 07-31-2017




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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